                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF TENNESSEE
                               AT KNOXVILLE




 UNITED STATES OF AMERICA,                         )
                                                   )
 v.                                                )     No. 3:06-CR-92
                                                   )     (Phillips)
 BERNADETTE TRENT WEST                             )



                                     ORDER

             Defendant’s motion to file her response to the government’s motion for

 downward departure under seal [Doc. 152] is GRANTED.




                                      ENTER:



                                            s/ Thomas W. Phillips
                                          United States District Judge




Case 3:06-cr-00092-TWP-HBG    Document 153     Filed 01/04/07   Page 1 of 1   PageID
                                    #: 215
